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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 Preterm-Cleveland, et al.,                  :
                                             :
                 Plaintiffs,                 : Case No. 1:19-cv-00360
                                             :
                 vs.                         : Judge Michael R. Barrett
                                             :
 Attorney General of Ohio, et al.,           :
                                             :
                 Defendants.                 :
                                             :
                                             :

                                         ORDER

       This matter is before the Court on Amici Curiae’s unopposed Motion for Leave to

File an Amicus Curiae brief in support of Plaintiffs. (Doc. 70). Amici attached their

proposed brief to their Motion. Id. For good cause shown, it is hereby ORDERED that the

Motion (Doc. 70) is GRANTED. Amici must file their brief within three (3) days of the date

of this Order.

       IT IS SO ORDERED.
                                                _/s Michael R. Barrett_____________
                                                Michael R. Barrett, Judge
                                                United States District Court
